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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  PROJECT SOUTH, et al.,

                         Plaintiffs,

  v.                                                       Civil Action No. 21-0960 (GMH)

  U.S. DEPARTMENT OF HOMELAND
  SECURITY, et al.,

                         Defendants.


                                            ORDER

       Based on the Parties’ joint status report updating the Court on their progress in this FOIA

matter, it is hereby ORDERED that the Parties will file another joint status report by February

14, 2022, to propose further proceedings in this matter.
                                                                     Digitally signed by G.
                                                                     Michael Harvey
                                                                     Date: 2021.12.16
Dec. 16, 2021____                                                    07:40:52 -05'00'
                                                     _______________________________
Date                                                 Hon. G. Michael Harvey
                                                     United States Magistrate Judge
